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                                                  Table of Exhibits

                                  Exhibit A-1A – Ballot for Holders of
                  Class 7 General Unsecured Claims Against Lexington Precision Corp.

                                 Exhibit A-1B – Ballot for Holders of
               Class 17 General Unsecured Claims Against Lexington Rubber Group, Inc.

                                    Exhibit A-2A – Ballot for Beneficial Holders of
                                      Class 5 Senior Subordinated Note Claims

                               Exhibit A-2B – Master Ballot for Record Holders of
                                    Class 5 Senior Subordinated Note Claims

                               Exhibit A-2C – Stock Election Form for Holders of
                                   Class 5 Senior Subordinated Note Claims

                       Exhibit A-3 – Ballot for Holders of [Classes 2(a) and 14(a)
                CapitalSource Secured Claims/Class 2(b) and14(b) CSE Secured Claims]

                                         Exhibit A-4A –Ballot for Holders of
                                       Class 9 Asbestos Personal Injury Claims

                                  Exhibit A-4B – Master Ballot for Counsel to
                               Holders of Class 9 Asbestos Personal Injury Claims

                                       Exhibit B – Notice of Non-Voting Status

                                       Exhibit C – Confirmation Hearing Notice




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                                  Exhibit A-1A

                       Ballot for Holders of Class 7 General
                Unsecured Claims Against Lexington Precision Corp.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                      BALLOT FOR HOLDERS OF CLASS 7 GENERAL
                UNSECURED CLAIMS AGAINST LEXINGTON PRECISION CORP.

                  Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, are soliciting votes with respect to the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may
be further amended or modified, the “Proposed Plan”), from the holders of certain impaired claims and
interests against the Debtors. All capitalized terms used but not defined herein or in the enclosed voting
instructions have the meanings ascribed to such terms in the Proposed Plan. If you have any questions on
how to properly complete this Ballot, please call Financial Balloting Group LLC (the “Solicitation
Agent”) at (646) 282-1800.

               This Ballot is to be used for voting by holders of General Unsecured Claims against
Lexington Precision.

                 In order for your vote to be counted, the Ballot must be properly completed, signed, and
returned to the Solicitation Agent so that it is actually received by the Solicitation Agent, Financial
Balloting Group LLC, Attn: Lexington Precision Ballot Tabulation, 757 Third Avenue, 3rd Floor, New
York, New York 10017, by no later than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010
(the “Voting Deadline”), unless such time is extended by the Debtors.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Amount of General Unsecured Claims. For purposes of voting to accept or reject the Proposed
        Plan, the undersigned holds General Unsecured Claims against the Debtor referenced below in
        the amount set forth below.


                                       Debtor

                                      Amount $
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Item 2. Vote on the Proposed Plan. The undersigned holder of the General Unsecured Claim set forth
        in Item 1 above hereby votes to:

                                   Check One Box Only
                                    Accept the Proposed Plan

                                    Reject the Proposed Plan

Item 3. OPTIONAL - Convenience Class/Lump Sum Cash Payment Election. By checking one of
        the boxes below, you may elect to receive in full satisfaction of your claim

        (a) if the allowed amount of your claim is greater than $2,000, a $2,000 claim treated as a
            Convenience Claim against the above-referenced Debtor and paid in full in cash as soon as
            reasonably practicable after the later of (i) the effective date of the Proposed Plan and (ii) the
            date your claim is allowed,

            or

        (b) a lump-sum cash payment equal to 51% of your allowed claim as soon as reasonably
            practicable after the later of (i) the effective date of the Proposed Plan and (ii) the date your
            claim is allowed.

        If you do not make one of the above elections, you shall receive an initial cash payment equal to
        8.0% of your Allowed Claim payable as soon as reasonably practicable after the later of (i) the
        effective date of the Proposed Plan and (ii) the date your claim is Allowed plus nine (9)
        additional equal quarterly cash payments, each in an amount equal to 8.6% of your Allowed
        Claim commencing three (3) months after the later of (x) the effective date of the Proposed Plan
        and (ii) the date your claim is allowed.

        You may only choose to make one of the above elections. You cannot select both options. If
        you select both boxes, we will assume you intended to reduce your claim to a $2,000
        convenience class claim.

                                     Elect to have Allowed Claim
                                                                 
                                  Treated as a Convenience Claim

                                  Elect Lump Sum Cash Payment 


Item 4. OPTIONAL – Opt Out of Releases. Sections 10.8, 10.9, and 10.10 of the Plan provides that
        you shall release certain non-debtor parties of certain causes of action and claims unless you elect
        not to grant such releases. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan to
        understand the implications of such releases. If you do not wish to grant these releases, please
        check the box below. You may elect to opt out of the releases irrespective of whether you
        vote to accept or reject the Plan.

                                       Elect to Opt Out of Releases 

Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
        that the undersigned has been provided with a copy of the disclosure statement for the Proposed
        Plan, dated May 26, 2010 (the “Disclosure Statement”), including all exhibits thereto. The
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      undersigned certifies that (i) it is the holder of the General Unsecured Claim against the Debtor
      identified in Item 1 above and (ii) it has full power and authority to vote to accept or reject the
      Proposed Plan. The undersigned further acknowledges that the Debtors’ solicitation of votes is
      subject to all terms and conditions set forth in the Disclosure Statement and the order of the
      Bankruptcy Court approving the Disclosure Statement and the procedures for the solicitation of
      votes to accept or reject the Proposed Plan contained therein.
               Print or Type Name of Claimant
      Social Security No./Federal Tax I.D. No.
                                        Signature
 Name of Signatory (if different than claimant)
         If by Authorized Agent, Title of Agent
                                   Street Address


                       City, State and Zip Code
                              Telephone Number
                                   Email Address
                                 Date Completed
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      VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF
                       GENERAL UNSECURED CLAIMS

1.     This Ballot is submitted to you to solicit your vote to accept or reject the Proposed Plan.
       PLEASE READ THE PROPOSED PLAN AND THE DISCLOSURE STATEMENT
       CAREFULLY BEFORE COMPLETING THIS BALLOT.

2.     The Proposed Plan will be accepted by a Class if it is accepted by the holders of two-thirds in
       amount and more than one-half in number of Claims in that Class voting on the Proposed Plan.
       In the event that Class rejects the Proposed Plan, the Bankruptcy Court may nevertheless confirm
       the Proposed Plan and thereby make it binding on you if the Bankruptcy Court finds that the
       Proposed Plan does not unfairly discriminate against, and accords fair and equitable treatment to,
       the holders of Claims in that Class and all other Classes of Claims rejecting the Proposed Plan,
       and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the
       Proposed Plan is confirmed by the Bankruptcy Court, all holders of Claims against and Equity
       Interests in the Debtors (including those holders who abstain from voting or reject the Proposed
       Plan, and those holders who are not entitled to vote on the Proposed Plan) will be bound by the
       confirmed Proposed Plan and the transactions contemplated thereby.

3.     To have your vote counted, you must complete, sign, and return this Ballot to Financial Balloting
       Group (the “Solicitation Agent”) so that it is received by the Solicitation Agent by no later than
       5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010 (the “Voting Deadline”), unless
       such time is extended in writing by the Debtors. Ballots must be delivered either by mail with the
       enclosed envelope or by hand delivery or overnight courier to the Solicitation Agent at the
       following address:

                         FINANCIAL BALLOTING GROUP LLC
                         ATTN: LEXINGTON PRECISION BALLOT TABULATION
                         757 THIRD AVENUE, 3RD FLOOR
                         NEW YORK, NEW YORK 10017
                         (646) 282-1800

Ballots will not be accepted by telecopy, facsimile, or other electronic means of transmission.

4.     To properly complete the Ballot, you must follow the procedures described below:

       a.      make sure that the information contained in Item 1 is correct;

       b.      if you have a Claim in Class referenced in the Ballot, cast one vote to accept or reject the
               Proposed Plan by checking the appropriate box in Item 2;

       c.      if you wish to make an election to (i) reduce your claim to a $2,000 convenience class
               claim or (ii) receive a reduced lump-sum payment rather than periodic payments over
               time, you may make such election in Item 3. You cannot elect both options. If you do,
               we will assume you intended to reduce your claim to a $2,000 Convenience Claim;

       d.      if you wish to elect to opt out of the releases set forth in Sections 10.8, 10.9, and 10.10 of
               the Plan, check the box in Item 4;

       e.      if you are completing this Ballot on behalf of another person or entity, indicate your
               relationship with such person or entity and the capacity in which you are signing and
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            submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
            certified copy of board resolutions authorizing you to so act);

      f.    if you also hold other claims or interests in classes that are entitled to vote, you should
            receive a different Ballot for each such claim or interest. Your vote will be counted in
            determining acceptance or rejection of the Proposed Plan by a particular Class only if you
            complete, sign, and return the Ballot labeled for that Class in accordance with the
            instructions on that Ballot;

      g.    if you believe that you have received the wrong Ballot, please contact the Solicitation
            Agent immediately;

      h.    provide your name and mailing address;

      i.    sign and date your Ballot; and

      j.    return your Ballot (with an original signature) using the enclosed pre-addressed return
            envelope.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT RECEIVE A COPY OF THE
DISCLOSURE STATEMENT OR PROPOSED PLAN, OR IF YOU NEED ADDITIONAL COPIES OF
THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTORS’
SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC AT (646) 282-1800. PLEASE DO
NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                                   Exhibit A-1B

                       Ballot for Holders of Class 17 General
               Unsecured Claims Against Lexington Rubber Group, Inc.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                    BALLOT FOR HOLDERS OF CLASS 17 GENERAL
             UNSECURED CLAIMS AGAINST LEXINGTON RUBBER GROUP, INC.

                  Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, are soliciting votes with respect to the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may
be further amended or modified, the “Proposed Plan”), from the holders of certain impaired claims and
interests against the Debtors. All capitalized terms used but not defined herein or in the enclosed voting
instructions have the meanings ascribed to such terms in the Proposed Plan. If you have any questions on
how to properly complete this Ballot, please call Financial Balloting Group LLC (the “Solicitation
Agent”) at (646) 282-1800.

              This Ballot is to be used for voting by holders of General Unsecured Claims against
Lexington Rubber Group.

                 In order for your vote to be counted, the Ballot must be properly completed, signed, and
returned to the Solicitation Agent so that it is actually received by the Solicitation Agent, Financial
Balloting Group LLC, Attn: Lexington Precision Ballot Tabulation, 757 Third Avenue, 3rd Floor, New
York, New York 10017, by no later than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010
(the “Voting Deadline”), unless such time is extended by the Debtors.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Amount of General Unsecured Claims. For purposes of voting to accept or reject the Proposed
        Plan, the undersigned holds General Unsecured Claims against the Debtor referenced below in
        the amount set forth below.


                                       Debtor

                                      Amount $
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Item 2. Vote on the Proposed Plan. The undersigned holder of the General Unsecured Claim set forth
        in Item 1 above hereby votes to:

                                  Check One Box Only
                                   Accept the Proposed Plan

                                   Reject the Proposed Plan

Item 3. OPTIONAL - Convenience Class/Lump Sum Cash Payment Election. By checking one of
        the boxes below, you may elect to receive in full satisfaction of your claim

       (c) if the allowed amount of your claim is greater than $2,000, a $2,000 claim treated as a
           Convenience Claim against the above-referenced Debtor and paid in full in cash as soon as
           reasonably practicable after the later of (i) the effective date of the Proposed Plan and (ii) the
           date your claim is allowed,

           or

       (d) a lump-sum cash payment equal to 51% of your allowed claim as soon as reasonably
           practicable after the later of (i) the effective date of the Proposed Plan and (ii) the date your
           claim is allowed.

       If you do not make one of the above elections, you shall receive an initial cash payment equal to
       10% of the sum of (a) your Allowed Claim and (b) interest on such Allowed Claim from the
       Commencement Date through and including the Effective Date calculated at the federal judgment
       rate or such other rate as the Bankruptcy Court may determine, payable as soon as reasonably
       practicable after the later of (i) the effective date of the Proposed Plan and (ii) the date your claim
       is Allowed plus nine (9) additional equal quarterly cash payments, each in an amount equal to
       10.75% of the sum of (a) your Allowed Claim and (b) interest on such Allowed Claim from the
       Commencement Date through and including the Effective Date calculated at the federal judgment
       rate or such other rate as the Bankruptcy Court may determine, and commencing three (3)
       months after the later of (x) the effective date of the Proposed Plan and (y) the date your claim is
       allowed.

       You may only choose to make one of the above elections. You cannot select both options. If
       you select both boxes, we will assume you intended to reduce your claim to a $2,000
       Convenience Claim.

                                    Elect to have Allowed Claim
                                                                
                                 Treated as a Convenience Claim

                                 Elect Lump Sum Cash Payment 
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Item 4. OPTIONAL – Opt Out of Releases. Sections 10.8, 10.9, and 10.10 of the Plan provides that
        you will release certain non-debtor parties of certain causes of action and claims unless you elect
        not to grant such releases. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan to
        understand the implications of such releases. If you do not wish to grant these releases, please
        check the box below. You may elect to opt out of the releases irrespective of whether you
        vote to accept or reject the Plan.

                                      Elect to Opt Out of Releases 

Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
        that the undersigned has been provided with a copy of the disclosure statement for the Proposed
        Plan, dated May 26, 2010 (the “Disclosure Statement”), including all exhibits thereto. The
        undersigned certifies that (i) it is the holder of the General Unsecured Claim against the Debtor
        identified in Item 1 above and (ii) it has full power and authority to vote to accept or reject the
        Proposed Plan. The undersigned further acknowledges that the Debtors’ solicitation of votes is
        subject to all terms and conditions set forth in the Disclosure Statement and the order of the
        Bankruptcy Court approving the Disclosure Statement and the procedures for the solicitation of
        votes to accept or reject the Proposed Plan contained therein.
                 Print or Type Name of Claimant
         Social Security No./Federal Tax I.D. No.
                                          Signature
  Name of Signatory (if different than claimant)
           If by Authorized Agent, Title of Agent
                                     Street Address


                          City, State and Zip Code
                                Telephone Number
                                     Email Address
                                   Date Completed
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      VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF
                       GENERAL UNSECURED CLAIMS

1.     This Ballot is submitted to you to solicit your vote to accept or reject the Proposed Plan.
       PLEASE READ THE PROPOSED PLAN AND THE DISCLOSURE STATEMENT
       CAREFULLY BEFORE COMPLETING THIS BALLOT.

2.     The Proposed Plan will be accepted by a Class if it is accepted by the holders of two-thirds in
       amount and more than one-half in number of Claims in that Class voting on the Proposed Plan.
       In the event that Class rejects the Proposed Plan, the Bankruptcy Court may nevertheless confirm
       the Proposed Plan and thereby make it binding on you if the Bankruptcy Court finds that the
       Proposed Plan does not unfairly discriminate against, and accords fair and equitable treatment to,
       the holders of Claims in that Class and all other Classes of Claims rejecting the Proposed Plan,
       and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the
       Proposed Plan is confirmed by the Bankruptcy Court, all holders of Claims against and Equity
       Interests in the Debtors (including those holders who abstain from voting or reject the Proposed
       Plan, and those holders who are not entitled to vote on the Proposed Plan) will be bound by the
       confirmed Proposed Plan and the transactions contemplated thereby.

3.     To have your vote counted, you must complete, sign, and return this Ballot to Financial Balloting
       Group (the “Solicitation Agent”) so that it is received by the Solicitation Agent by no later than
       5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010 (the “Voting Deadline”), unless
       such time is extended in writing by the Debtors. Ballots must be delivered either by mail with the
       enclosed envelope or by hand delivery or overnight courier to the Solicitation Agent at the
       following address:

                         FINANCIAL BALLOTING GROUP LLC
                         ATTN: LEXINGTON PRECISION BALLOT TABULATION
                         757 THIRD AVENUE, 3RD FLOOR
                         NEW YORK, NEW YORK 10017
                         (646) 282-1800

Ballots will not be accepted by telecopy, facsimile, or other electronic means of transmission.

4.     To properly complete the Ballot, you must follow the procedures described below:

       a.      make sure that the information contained in Item 1 is correct;

       b.      if you have a Claim in Class referenced in the Ballot, cast one vote to accept or reject the
               Proposed Plan by checking the appropriate box in Item 2;

       c.      if you wish to make an election to (i) reduce your claim to a $2,000 convenience class
               claim or (ii) receive a reduced lump-sum payment rather than periodic payments over
               time, you may make such election in Item 3. You cannot elect both options. If you do,
               we will assume you intended to reduce your claim to a $2,000 Convenience Claim;

       d.      if you wish to elect to opt out of the releases set forth in Sections 10.8, 10.9, and 10.10 of
               the Plan, check the box in Item 4;

       e.      if you are completing this Ballot on behalf of another person or entity, indicate your
               relationship with such person or entity and the capacity in which you are signing and
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            submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
            certified copy of board resolutions authorizing you to so act);

            f.   if you also hold other claims or interests in classes that are entitled to vote, you
                 should receive a different Ballot for each such claim or interest. Your vote will be
                 counted in determining acceptance or rejection of the Proposed Plan by a particular
                 Class only if you complete, sign, and return the Ballot labeled for that Class in
                 accordance with the instructions on that Ballot;

            g. if you believe that you have received the wrong Ballot, please contact the Solicitation
               Agent immediately;

            h. provide your name and mailing address;

            i.   sign and date your Ballot; and

            j.   return your Ballot (with an original signature) using the enclosed pre-addressed
                 return envelope.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT RECEIVE A COPY OF THE
DISCLOSURE STATEMENT OR PROPOSED PLAN, OR IF YOU NEED ADDITIONAL COPIES OF
THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTORS’
SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC AT (646) 282-1800. PLEASE DO
NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                                   Exhibit A-2A

                      Ballot for Beneficial Holders of Class 5
                        Senior Subordinated Note Claims
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                      BALLOT FOR BENEFICIAL HOLDERS OF CLASS 5
                         SENIOR SUBORDINATED NOTE CLAIMS

                  Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, are soliciting votes with respect to the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may
be further amended or modified, the “Proposed Plan”), from the holders of certain impaired claims
interests against the Debtors. All capitalized terms used but not defined herein or in the enclosed voting
instructions have the meanings ascribed to such terms in the Proposed Plan. If you have any questions on
how to properly complete this Ballot, please call Financial Balloting Group LLC (the “Solicitation
Agent”) at (646) 282-1800.

                Class 5 (Senior Subordinated Note Claims) includes the 12% Senior Subordinated Notes
due 2009 (the “Senior Subordinated Notes”) pursuant to the indenture, dated as of December 18, 2003,
between Wilmington Trust Company, as indenture trustee, and Lexington Precision. THIS BALLOT IS
ONLY FOR THE BENEFICIAL HOLDERS OF THE SENIOR SUBORDINATED NOTE
CLAIMS.

                 In order for your vote to be counted, this Ballot must be properly completed, signed, and
returned in the envelope provided. The deadline for the receipt by the Solicitation Agent of all Ballots
(including Ballots and Master Ballots cast on behalf of beneficial holders) is no later than 5:00 p.m.
(Eastern Daylight Time) on Friday July 2, 2010 (the “Voting Deadline”), unless such time is extended
in writing by the Debtors.

            IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR BANK,
BROKER, OR OTHER VOTING NOMINEE (EACH OF THE FOREGOING, A “VOTING
NOMINEE”), PLEASE ALLOW SUFFICIENT TIME FOR YOUR VOTING NOMINEE TO
PROCESS YOUR VOTE ON A MASTER BALLOT AND RETURN THE MASTER BALLOT TO
THE SOLICITATION AGENT BEFORE THE VOTING DEADLINE.

                            Important Notice Regarding Class 5 Stock Election

                 Instead of a cash payment of 51% of its Allowed Claim, a holder of Class 5 Senior
Subordinated Note Claims may elect to receive shares of New LPC Common Stock (as defined in the
Proposed Plan) in an amount equal to (x) the product of the holder’s Allowed Claim and 51%, divided by
(y) $10.00 (the “Class 5 Stock Election”). Holders who wish to make the Class 5 Stock Election must
instruct their nominee to make the Class 5 Stock Election on their behalf. A Class 5 Stock Election will
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only apply to those Senior Subordinated Notes that have been tendered into the Automated Tender Offer
Program system at the Depository Trust Company as of the Voting Deadline. Only a holder’s nominee
can effect a Class 5 Stock Election on behalf of a holder.

                If you wish to make the Class 5 Stock Election, you must follow the directions of your
nominee with respect to relaying your instructions to them. The nominee must have effected the Class 5
Stock Election on your behalf by the Voting Deadline in order for the Class 5 Stock Election to be valid.

           IF YOU EXERCISE THE CLASS 5 STOCK ELECTION, YOU WILL BE UNABLE
TO TRADE OR OTHERWISE TRANSFER YOUR SENIOR SUBORDINATED NOTES.

           MATERIALS RELATING TO THE CLASS 5 STOCK ELECTION ARE BEING
DISTRIBUTED SEPARATELY FROM THIS BALLOT.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Principal Amount of Senior Subordinated Note Claims. The undersigned hereby certifies that
        as of May 26, 2010, the undersigned was the beneficial holder (or authorized signatory for a
        beneficial holder), or the Voting Nominee of a beneficial holder, of 12% Senior Subordinated
        Notes in the following aggregate unpaid principal amount (insert amount in box below). If your
        12% Senior Subordinated Notes are held by a Voting Nominee on your behalf and you do not
        know the amount of the 12% Senior Subordinated Notes held, please contact your Voting
        Nominee immediately.

                                Principal amount of
                         Senior Subordinated Notes    $

Item 2. Vote on the Proposed Plan. The beneficial holder of the 12% Senior Subordinated Notes
        identified in Item 1 hereby votes to:

                                  Check One Box Only
                                   Accept the Proposed Plan

                                   Reject the Proposed Plan
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Item 3. Certification as to Senior Subordinated Note Claims held in Additional Accounts. By
        completing and returning this Ballot, the beneficial holder certifies that either (a) it has not
        submitted any other Ballots for other Class 5 Senior Subordinated Note Claims held in other
        accounts or other record names or (b) it has provided the information specified in the following
        table for all other Class 5 Senior Subordinated Note Claims for which it has submitted additional
        Ballots, each of which indicates the same vote to accept or reject the Proposed Plan (please use
        additional sheets of paper if necessary):

ONLY COMPLETE THIS SECTION IF YOU HAVE
VOTED CLASS 5 BALLOTS OTHER THAN THIS BALLOT.

      Account Number               Name of Holder1            Amount of Other Senior        Cusip of Other Senior
                                                             Subordinated Note Claims        Subordinated Note
                                                                      Voted                    Claims Voted



Item 4. OPTIONAL – Opt Out of Releases. Sections 10.8, 10.9, and 10.10 of the Plan provides that
        you shall releases certain non-debtor parties of certain causes of action and claims unless you
        elect not to grant such releases. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan
        to understand the implications of such releases. If you do not wish to grant these releases, please
        check the box below. You may elect to opt out of the releases irrespective of whether you
        vote to accept or reject the Plan.

                                         Elect to Opt Out of Releases 




1
  Insert your name if the 12% Senior Subordinated Notes are held by you in record name or, if held in street name,
insert the name of your broker or bank.
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Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
        that the undersigned has been provided with a copy of the disclosure statement for the Proposed
        Plan, dated May 26, 2010 (the “Disclosure Statement”), including all exhibits thereto. The
        undersigned certifies that (i) it is the holder of the Senior Subordinated Note Claims identified in
        Item 1 above and (ii) it has full power and authority to vote to accept or reject the Proposed Plan.
        The undersigned further acknowledges that the Debtors’ solicitation of votes is subject to all
        terms and conditions set forth in the Disclosure Statement and the order of the Bankruptcy Court
        approving the Disclosure Statement and the procedures for the solicitation of votes to accept or
        reject the Proposed Plan contained therein.

                 Print or Type Name of Claimant
         Social Security No./Federal Tax I.D. No.
                                          Signature
  Name of Signatory (if different than claimant)
           If by Authorized Agent, Title of Agent
                                     Street Address


                          City, State and Zip Code
                                Telephone Number
                                     Email Address
                                   Date Completed
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                  VOTING INSTRUCTIONS FOR COMPLETING THE
                       BALLOT FOR HOLDERS OF CLASS 5
                     SENIOR SUBORDINATED NOTE CLAIMS

1.    This Ballot is submitted to you to solicit your vote to accept or reject the Proposed Plan.
      PLEASE READ THE PROPOSED PLAN AND THE DISCLOSURE STATEMENT
      CAREFULLY BEFORE COMPLETING THIS BALLOT.

2.    The Proposed Plan will be accepted by Class 5 if it is accepted by the holders of two-thirds in
      amount and more than one-half in number of Claims in Class 5 voting on the Proposed Plan. In
      the event that Class 5 rejects the Proposed Plan, the Bankruptcy Court may nevertheless confirm
      the Proposed Plan and thereby make it binding on you if the Bankruptcy Court finds that the
      Proposed Plan does not unfairly discriminate against, and accords fair and equitable treatment to,
      the holders of Claims in Class 5 and all other Classes of Claims rejecting the Proposed Plan, and
      otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Proposed
      Plan is confirmed by the Bankruptcy Court, all holders of Claims against and Equity Interests in
      the Debtors (including those holders who abstain from voting on or reject the Proposed Plan, and
      those holders who are not entitled to vote on the Proposed Plan) will be bound by the confirmed
      Proposed Plan and the transactions contemplated thereby.

3.    In order for your Class 5 vote to be counted, this Ballot must be properly completed, signed, and
      returned in the envelope provided. The deadline for the receipt by the Solicitation Agent of all
      Ballots (including Beneficial Holder Ballots and Master Ballots cast on behalf of beneficial
      holders) is no later than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010, (the
      “Voting Deadline”), unless such time is extended in writing by the Debtors.

      IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR BANK,
      BROKER, OR OTHER VOTING NOMINEE, PLEASE ALLOW SUFFICIENT TIME
      FOR YOUR VOTING NOMINEE TO PROCESS YOUR VOTE ON A MASTER BALLOT
      AND RETURN THE MASTER BALLOT TO THE SOLICITATION AGENT BEFORE
      THE VOTING DEADLINE.

      Ballots will not be accepted by telecopy, facsimile, or other electronic means of
      transmission.

4.    To properly complete this Ballot, you must follow the procedures described below:

      a.      make sure that the information contained in Item 1 is correct;

      b.      cast a vote to accept or reject the Proposed Plan by checking the appropriate box in
              Item 2;

      c.      provide the information required by Item 3, if applicable to you;

      d.      if you wish to elect to opt out of the releases set forth in Sections 10.8, 10.9, and 10.10 of
              the Plan, check the box in Item 4;

      e.      if you are completing this Ballot on behalf of another person or entity, indicate your
              relationship with such person or entity and the capacity in which you are signing and
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                submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
                certified copy of board resolutions authorizing you to so act);

        f.      if you also hold other claims or interests in classes entitled to vote, you should receive a
                different Ballot for each such claim or interest. Your vote will be counted in determining
                acceptance or rejection of the Proposed Plan by a particular class only if you complete,
                sign and return the Ballot labeled for that class in accordance with the instructions on that
                Ballot;

        g.      if you believe that you have received the wrong Ballot, please contact the Solicitation
                Agent immediately;

        h.      provide your name and mailing address;

        i.      sign and date your Ballot; and

        j.      return your Ballot (with an original signature) using the enclosed pre-addressed return
                envelope.

       IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL HOLDER BALLOT,
OR IF YOU DID NOT RECEIVE A RETURN ENVELOPE WITH YOUR BENEFICIAL HOLDER
BALLOT, OR IF YOU DID NOT RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR
PROPOSED PLAN, OR IF YOU NEED ADDITIONAL COPIES OF THE BENEFICIAL HOLDER
BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTORS’
SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC AT (646) 282-1800. PLEASE DO
NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

                         Important Notice Regarding Class 5 Stock Election

                 Instead of a cash payment of 51% of its Allowed Claim, a holder of Class 5 Senior
Subordinated Note Claims may elect to receive shares of New LPC Common Stock (as defined in the
Proposed Plan) in an amount equal to (x) the product of the holder’s Allowed Claim and 51%, divided by
(y) $10.00 (the “Class 5 Stock Election”). Holders who wish to make the Class 5 Stock Election must
instruct their nominee to make the Class 5 Stock Election on their behalf. A Class 5 Stock Election will
only apply to those Senior Subordinated Notes that have been tendered into the Automated Tender Offer
Program system at the Depository Trust Company as of the Voting Deadline. Only a holder’s nominee
can effect a Class 5 Stock Election on behalf of a holder.

                If you wish to make the Class 5 Stock Election, you must follow the directions of your
nominee with respect to relaying your instructions to them. The nominee must have effected the Class 5
Stock Election on your behalf by the Voting Deadline in order for the Class 5 Stock Election to be valid.

           IF YOU EXERCISE THE CLASS 5 STOCK ELECTION, YOU WILL BE UNABLE
TO TRADE OR OTHERWISE TRANSFER YOUR SENIOR SUBORDINATED NOTES.

           MATERIALS RELATING TO THE CLASS 5 STOCK ELECTION ARE BEING
DISTRIBUTED SEPARATELY FROM THIS BALLOT.
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                                  Exhibit A-2B

                   Master Ballots for Record Holders of Class 5
                        Senior Subordinated Note Claims
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                         MASTER BALLOTS FOR RECORD HOLDERS OF
                         CLASS 5 SENIOR SUBORDINATED NOTE CLAIMS

                  Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, are soliciting votes with respect to the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may
be further amended or modified, the “Proposed Plan”), from the holders of certain impaired claims and
interests against the Debtors. All capitalized terms used but not defined herein or in the enclosed voting
instructions have the meanings ascribed to such terms in the Proposed Plan. If you have any questions on
how to properly complete this Ballot, please call Financial Balloting Group LLC (the “Solicitation
Agent”) at (646) 282-1800.

                 Class 5 (Senior Subordinated Note Claims) includes the 12% Senior Subordinated Notes
due 2009 pursuant to the indenture, dated as of December 18, 2003, between Wilmington Trust Company,
as indenture trustee, and Lexington Precision (the “12% Senior Subordinated Notes”). THIS
MASTER BALLOT IS ONLY FOR CASTING VOTES ON BEHALF OF BENEFICIAL
HOLDERS OF THE 12% SENIOR SUBORDINATED NOTES.

                This Master Ballot is to be used by you as a broker, bank, or other nominee; or as
the agent of a broker, bank, or other nominee (each of the foregoing, a “Voting Nominee”); or as
the proxy holder of a Voting Nominee or beneficial holder for the 12% Senior Subordinated Notes,
to transmit to the Solicitation Agent the votes of such beneficial holders in respect of their Senior
Subordinated Note Claims to accept or reject the Proposed Plan.
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PLEASE COMPLETE THE FOLLOWING:

Item 1. Certification of Authority to Vote. The undersigned certifies that as of May 26, 2010 (the
        Record Date under the Proposed Plan), the undersigned (please check appropriate box):

         Is a broker, bank, or other nominee for the beneficial owners of the aggregate principal amount of
         the 12% Senior Subordinated Notes listed in Item 2 below, and is the registered holder of such
         securities, or

         Is acting under a power of attorney and/or agency (a copy of which will be provided upon
         request) granted by a broker, bank, or other nominee that is the registered holder of the aggregate
         principal amount of the 12% Senior Subordinated Notes listed in Item 2 below, or


         Has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
         nominee, or a beneficial owner, that is the registered holder of the aggregate principal amount of
         12% Senior Subordinated Notes listed in Item 2 below,

and accordingly, has full power and authority to vote to accept or reject the Proposed Plan, on behalf of
the Senior Subordinated Note Claims held by the beneficial owners of the 12% Senior Subordinated
Notes described in Item 2.

Item 2. Vote. The undersigned transmits the following votes of beneficial holders in respect of their
        Senior Subordinated Note Claims, and certifies that the following beneficial holders of the 12%
        Senior Subordinated Notes, as identified by their respective customer account numbers set forth
        below, are beneficial holders of such securities as of May 26, 2010, the Record Date, and have
        delivered to the undersigned, as Voting Nominee, their ballots (“Beneficial Holder Ballots”)
        casting such votes. Indicate in the appropriate column the aggregate principal amount voted for
        each account, or attach such information to this Master Ballot in the form of the following table.
        Please note each beneficial holder must vote all of his, her, or its Senior Subordinated Note
        Claims to accept or to reject the Proposed Plan and may not split such vote. Please also include
        whether each beneficial holder elected to opt out of the release provisions of the Plan as indicated
        by Item 4 on the Beneficial Holder Ballots.

Your Customer Account Number
                                       Principal Amount of
   for Each Beneficial Holder of                                                             Opted Out
                                           12% Senior        Accept           Reject
Voting 12% Senior Subordinated                                                               of Releases
                                       Subordinated Notes
              Notes
1.                                 $
2.                                 $
3.                                 $
4.                                 $
5.                                 $
6.                                 $
7.                                 $
8.                                 $
9.                                 $
TOTALS:                            $

       * In order to vote on the Proposed Plan, the beneficial holder must have checked a box in Item 2 to
         ACCEPT or REJECT the Proposed Plan on its individual Beneficial Holder Ballot. By order of
         the United States Bankruptcy Court for the Southern District of New York, if the beneficial
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              holder did not check a box in Item 2 on its individual Beneficial Holder Ballot, its vote will not be
              counted.

      Item 3. Certification as to Transcription of Information from Item 3 as to Senior Subordinated
              Note Claims Voted Through Other Beneficial Holder Ballots. The undersigned certifies that
              the undersigned has transcribed in the following table the information, if any, provided by
              beneficial holders in Item 3 of the beneficial holder’s original Beneficial Holder Ballot,
              identifying any Senior Subordinated Note Claims for which such beneficial owners have
              submitted other Beneficial Holder Ballots other than to the undersigned:

    YOUR Customer       TRANSCRIBE FROM ITEM 3 OF THE BENEFICIAL OWNER BALLOTS:
  Account Number for      Account Number     Name of Owner       Amount of Other                     Cusip of Other 12%
Each Beneficial Owner                                              12% Senior                        Senior Subordinated
Who Completed Item 3                                            Subordinated Notes                      Noted Voted
    of the Beneficial                                                 Voted
     Holder Ballots
1.                                                                        $
2.                                                                        $
3.                                                                        $
4.                                                                        $
5.                                                                        $
6.                                                                        $
7.                                                                        $
8.                                                                        $
9.                                                                        $
10.                                                                       $
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Item 4. Certification. By signing this Master Ballot, the undersigned certifies that each beneficial
       holder of the 12% Senior Subordinated Notes listed in Item 2 above has been provided with a
       copy of the disclosure statement for the Proposed Plan, dated May 26, 2010 (the “Disclosure
       Statement”), including the exhibits thereto, and acknowledges that the solicitation of votes for
       the Proposed Plan is subject to all of the terms and conditions set forth in the Disclosure
       Statement.
                         Name of Voting Nominee
                              Participant Number
                 Name of Proxy Holder or Agent
              for Voting Nominee (if applicable):
         Social Security No./Federal Tax I.D. No.
                                         Signature
                                 By (if applicable)
                               Title (if applicable)
                                    Street Address
                         City, State and Zip Code
                               Telephone Number
                                    Email Address
                                  Date Completed
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                        INSTRUCTIONS FOR COMPLETING THE
                      MASTER BALLOT FOR RECORD HOLDERS OF
                     CLASS 5 SENIOR SUBORDINATED NOTE CLAIMS

VOTING DEADLINE/SOLICITATION AGENT:

                The Voting Deadline is 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010,
unless extended by the Debtors in writing. To have the vote of the beneficial holder(s) for whom you
act as Voting Nominee count, you must complete, sign, and return the Master Ballot so that it is actually
received by the Solicitation Agent, before the Voting Deadline. The Solicitation Agent is:

                        FINANCIAL BALLOTING GROUP LLC
                        ATTN: LEXINGTON PRECISION BALLOT TABULATION
                        757 THIRD AVENUE, 3RD FLOOR
                        NEW YORK, NEW YORK 10017
                        (646) 282-1800

        The Master Ballot will not be accepted by telecopy, facsimile, or other electronic means of
transmission.

HOW TO VOTE:

                If you are both the registered owner and the beneficial holder of any principal amount of
the 12% Senior Subordinated Notes and you wish to vote any Senior Subordinated Note Claims held on
account thereof, you may complete, execute and return to the Solicitation Agent either an individual
Beneficial Holder Ballot or a Master Ballot.

              If you are transmitting the votes of any beneficial holders of Senior Subordinated
Note Claims other than yourself, you may either:

                1.      “Prevalidate” the individual Beneficial Holder Ballot contained in the materials
                        sent out in connection with the voting and solicitation of the Proposed Plan
                        (collectively, the “Solicitation Package”) and then forward the Solicitation
                        Package to the beneficial owner of the Senior Subordinated Note Claims for
                        voting within five (5) business days after the receipt by such Voting Nominee of
                        the Solicitation Package, with the beneficial owner then returning the individual
                        Beneficial Holder Ballot directly to the Solicitation Agent in the return envelope
                        to be provided in the Solicitation Package. A Voting Nominee “prevalidates” a
                        Beneficial Holder Ballot by indicating thereon the record holder of the Senior
                        Subordinated Note Claims voted, the amount of the 12% Senior Subordinated
                        Notes held by the beneficial holder, and the appropriate account numbers through
                        which the beneficial owner’s holdings are derived. The beneficial owner shall
                        return the “prevalidated” Beneficial Holder Ballot to the Solicitation Agent;

                                                                OR

                2.      Forward the Solicitation Package to the beneficial owner of the Senior
                        Subordinated Note Claims for voting together with a return envelope provided by
                        and addressed to the Voting Nominee, with the beneficial owner then returning
                        the individual Beneficial Holder Ballot to the Voting Nominee. In such case, the
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                        Voting Nominee will tabulate the votes of its respective beneficial owners on a
                        Master Ballot that will be provided to the Voting Nominee separately by the
                        Solicitation Agent, in accordance with any instructions set forth in the
                        instructions to the Master Ballot, and then return the Master Ballot to the
                        Solicitation Agent. The Voting Nominee should advise the beneficial owners to
                        return their individual Beneficial Holder Ballots to the Voting Nominee by a date
                        calculated by the Voting Nominee to allow it to prepare and return the Master
                        Ballot to the Solicitation Agent so that the Master Ballot is actually received by
                        the Solicitation Agent by the Voting Deadline.

                With respect to all Beneficial Owner Ballots returned to you, you must properly complete
the Master Ballot, as follows:

                a.      Check the appropriate box in Item 1 on the Master Ballot;

                b.      Indicate the votes to accept or reject the Proposed Plan in Item 2 of the Master
                        Ballot, as transmitted to you by the beneficial owners of the Senior Subordinated
                        Note Claims and whether such holders elected to opt out of the releases in
                        Sections 10.8, 10.9 and 10.10 of the Plan. To identify such beneficial holders
                        without disclosing their names, please use the customer account number assigned
                        by you to each such beneficial owner, or if no such customer account number
                        exists, please assign a number to each account (making sure to retain a separate
                        list of each beneficial owner and the assigned number). IMPORTANT: EACH
                        BENEFICIAL HOLDER MUST VOTE ALL OF HIS, HER, OR ITS
                        SENIOR SUBORDINATED NOTE CLAIMS EITHER TO ACCEPT OR
                        REJECT THE PROPOSED PLAN, AND MAY NOT SPLIT SUCH VOTE.
                        IF ANY BENEFICIAL OWNER HAS ATTEMPTED TO SPLIT SUCH
                        VOTE, PLEASE CONTACT THE SOLICITATION AGENT
                        IMMEDIATELY. By order of the Bankruptcy Court, any Beneficial Holder
                        Ballot that is signed, dated, and timely received, but does not indicate acceptance
                        or rejection of the Proposed Plan will not be counted;

                c.      Please note that Item 3 of the Master Ballot requests that you transcribe the
                        information provided by each beneficial owner in Item 3 of each completed
                        Beneficial Holder Ballot relating to other Senior Subordinated Note Claims
                        voted;

                d.      Review the certification in Item 4 of the Master Ballot;

                e.      Sign and date the Master Ballot, and provide the remaining information
                        requested;

                f.      If additional space is required to respond to any item on the Master Ballot, please
                        use additional sheets of paper clearly marked to indicate the applicable Item of
                        the Master Ballot to which you are responding;

                g.      Contact the Solicitation Agent if you need any additional information; and

                h.      Deliver the completed, executed Master Ballot (containing an original signature)
                        so as to be received by the Solicitation Agent before the Voting Deadline. For
                        each completed, executed Beneficial Holder Ballot returned to you by a
                        beneficial owner, either forward such Beneficial Holder Ballot (along with your
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                         Master Ballot) to the Solicitation Agent or retain such Beneficial Holder Ballot in
                         your files for one year from the Voting Deadline.

PLEASE NOTE:

                  The Master Ballot is not a letter of transmittal and may not be used for any purpose
other than to cast votes to accept or reject the Proposed Plan. Holders should not surrender, at this
time, certificates representing their securities. Neither the Debtors nor the Solicitation Agent will accept
delivery of any such certificates surrendered together with the Master Ballot.

                 No Beneficial Holder Ballot nor Master Ballot shall constitute or be deemed a proof of
claim or interest or an assertion of a claim or interest.

                 No fees, commissions, or other remuneration will be payable to any Voting Nominee for
soliciting votes on the Proposed Plan. We will, however, reimburse you for reasonable, documented,
actual costs and expenses incurred by you in forwarding the Beneficial Holder Ballots and other enclosed
materials to the beneficial owners of the 12% Senior Subordinated Notes held by you as a Voting
Nominee or in a fiduciary capacity and in tabulating the Beneficial Holder Ballots.

           NOTHING CONTAINED HEREIN OR IN THE ENCLOSED DOCUMENTS
SHALL RENDER YOU OR ANY OTHER PERSON THE AGENT OF THE DEBTORS OR THE
SOLICITATION AGENT, OR AUTHORIZE YOU OR ANY OTHER PERSON TO USE ANY
DOCUMENT OR MAKE ANY STATEMENTS ON BEHALF OF ANY OF THEM WITH
RESPECT TO THE PROPOSED PLAN, EXCEPT FOR THE STATEMENTS CONTAINED IN
THE ENCLOSED DOCUMENTS.

            IF YOU HAVE ANY QUESTIONS REGARDING THE MASTER BALLOT, OR IF
YOU DID NOT RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PROPOSED PLAN,
OR IF YOU NEED ADDITIONAL COPIES OF THE MASTER BALLOT, BENEFICIAL OWNER
BALLOTS OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTORS’
SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC, AT (646) 282-1800. PLEASE
DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                                  Exhibit A-2C

                              Stock Election Form
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                            STOCK ELECTION FORM FOR HOLDERS OF
                             CLASS 5 SENIOR SUBORDINATED NOTES

                Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, have filed the Debtors’ Fourth Amended Joint Plan of Reorganization Under
Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may be further amended or
modified, the “Proposed Plan”).

               Pursuant to the Proposed Plan, instead of receiving a cash payment equal to 51% of its
Allowed Claim, a holder of Class 5 Senior Subordinated Notes may elect to receive shares of New LPC
Common Stock (as defined in the Proposed Plan) in an amount equal to (x) the product of the Allowed
Amount of their Claim and fifty-one percent (51%), divided by (y) $10.00 (the “Class 5 Stock
Election”).

                 Holders of Class 5 Senior Subordinated Note claims who wish to make the Class 5 Stock
Election must instruct their nominee to make the Class 5 Stock Election on their behalf. A Class 5 Stock
Election will only apply to those bonds that have been electronically delivered into the Automated Tender
Offer Program system at the Depository Trust Company by 5:00 p.m. (Eastern Daylight Time) on
Friday July 2, 2010 (the “Voting Deadline”). Only the holder’s nominee can effect a Class 5 Stock
Election on behalf of a holder. Senior Subordinated Notes that make the Class 5 Stock Election and are
electronically delivered in accordance with the required procedures will no longer be freely tradeable.
Senior Subordinated Notes that are electronically delivered can be withdrawn up to the Voting Deadline,
but cannot be withdrawn after the Voting Deadline.

                If you wish to make the Class 5 Stock Election, you must follow the directions of
your nominee with respect to relaying your instructions to them. The nominee must have effected
the Class 5 Stock Election on your behalf by the Voting Deadline for the Class 5 Stock Election to
be valid.

                If your Class 5 Stock Election is not received by the nominee that sent you this
election form in sufficient time for the nominee to electronically deliver your Senior Subordinated
Notes into the account established for that purpose to effectuate your Class 5 Stock Election by the
Voting Deadline, your Class 5 Stock Election will not count and your Class 5 Stock Election will not
be effective.
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IF YOU WISH TO MAKE THE CLASS 5 STOCK ELECTION, PLEASE COMPLETE, SIGN,
AND DATE THIS FORM AND RETURN IT PROMPTLY TO YOUR NOMINEE IN THE
ENVELOPE PROVIDED OR OTHERWISE FOLLOW YOUR NOMINEE’S INSTRUCTIONS
WITH RESPECT TO SUBMITTING YOUR ELECTION INSTRUCTIONS.

ONLY MAKE THE CLASS 5 STOCK ELECTION IF YOU WISH TO EXCHANGE YOUR
SENIOR SUBORDINATED NOTES FOR NEW LPC COMMON STOCK.

Item 1. Class 5 Stock Election. By checking the box below, you elect, to the extent your Class 5 Senior
        Subordinated Claim is Allowed, to receive New LPC Common Stock in accordance with the
        Proposed Plan in full satisfaction of your entire Class 5 Senior Subordinated Note Claim.

                          Elect to Receive New LPC Common Stock 

Item 2. Certification.

        By signing this election form,

                The undersigned acknowledges that the undersigned has been provided with a copy of the
                disclosure statement for the Proposed Plan, dated May 26, 2010 (the “Disclosure
                Statement”), including all exhibits thereto.

                The undersigned certifies that (i) it is the holder of the Class 5 Senior Subordinated
                Notes, and (ii) it has full power and authority to vote to elect the Class 5 Stock Election.

                The undersigned authorizes its nominee to treat this election form as a direction to
                electronically deliver the Senior Subordinated Notes to the account established to make
                the Class 5 Stock Election.
                                              Name
                                          Signature
     Name of Signatory (if different than holder)
                                               Title
                                    Street Address
                         City, State and Zip Code
                               Telephone Number
                                   Date Completed

IF YOU WISH TO MAKE THE CLASS 5 STOCK ELECTION, PLEASE COMPLETE, SIGN,
AND DATE THIS ELECTION FORM AND RETURN IT PROMPTLY TO YOUR NOMINEE IN
THE ENVELOPE PROVIDED OR OTHERWISE FOLLOW YOUR NOMINEE’S
INSTRUCTIONS WITH RESPECT TO SUBMITTING YOUR ELECTION INSTRUCTIONS.

PLEASE ALLOW SUFFICIENT TIME FOR YOUR NOMINEE TO PROCESS YOUR
EXCHANGE ELECTION AND ELECTRONICALLY DELIVER YOUR SENIOR
SUBORDINATED NOTES BEFORE THE VOTING DEADLINE ON FRIDAY JULY 2, 2010 AT
5:00 P.M. (EASTERN DAYLIGHT TIME).
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                                   Exhibit A-3

                              Form Ballot for Holders of
                Classes 2(a) and 14(a) CapitalSource Secured Claims

                            Form Ballot for Holders of
                    Classes 2(b) and 14(b) CSE Secured Claims




                                                                              S6
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
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                                  BALLOT FOR HOLDERS OF
                   [CLASSES [2(a)/14(a)] CAPITALSOURCE SECURED CLAIMS/
                         CLASSES [2(b)/14(b)] CSE SECURED CLAIMS]

                  Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, are soliciting votes with respect to the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (as it may
be further amended or modified, the “Proposed Plan”), from the holders of certain impaired claims and
interests against the Debtors. All capitalized terms used but not defined herein or in the enclosed voting
instructions have the meanings ascribed to such terms in the Proposed Plan. If you have any questions on
how to properly complete this Ballot, please call Financial Balloting Group LLC (the “Solicitation
Agent”) at (646) 282-1800.

                 This Ballot is to be used for voting by holders of:

                               [Class __] [Capital Source/CSE] Secured Claims

against Lexington Precision and Lexington Rubber Group, as applicable.

                 In order for your vote to be counted, the Ballot must be properly completed, signed, and
returned to the Solicitation Agent so that it is actually received by the Solicitation Agent, Financial
Balloting Group LLC, Attn: Lexington Precision Ballot Tabulation, 757 Third Avenue, 3rd Floor, New
York, New York 10017, by no later than 5:00 p.m. (Eastern Daylight Time) on July 2, 2010 (the
“Voting Deadline”), unless such time is extended by the Debtors.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Amount of Class [__] Claims. For purposes of voting to accept or reject the Proposed Plan, the
        undersigned holds Allowed Class [__] Claims against the Debtor(s) set forth below and in the
        amount(s) set forth below.


                                Debtor

                               Amount $




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Item 2. Vote on the Proposed Plan. The undersigned holder of Allowed Claim(s) against the Debtor set
        forth in Item 1 above and in the amount set forth in Item 1 above hereby votes to:

                                  Check One Box Only
                                   Accept the Proposed Plan

                                   Reject the Proposed Plan

Item 3. OPTIONAL – Opt Out of Releases. Sections 10.8, 10.9, and 10.10 of the Plan provides that
        you shall release certain non-debtor parties of certain causes of action and claims unless you elect
        not to grant such releases. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan to
        understand the implications of such releases. If you do not wish to grant these releases, please
        check the box below. You may elect to opt out of the releases irrespective of whether you
        vote to accept or reject the Plan.

                                      Elect to Opt Out of Releases 

Item 4. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
        that the undersigned has been provided with a copy of the disclosure statement for the Proposed
        Plan, dated May 26, 2010 (the “Disclosure Statement”), including all exhibits thereto. The
        undersigned certifies that (i) it is the holder of an Allowed Claim against the Debtor identified in
        Item 1 above and (ii) it has full power and authority to vote to accept or reject the Proposed Plan.
        The undersigned further acknowledges that the Debtors’ solicitation of votes is subject to all
        terms and conditions set forth in the Disclosure Statement and the order of the Bankruptcy Court
        approving the Disclosure Statement and the procedures for the solicitation of votes to accept or
        reject the Proposed Plan contained therein.
                 Print or Type Name of Claimant
         Social Security No./Federal Tax I.D. No.
                                          Signature
  Name of Signatory (if different than claimant)
           If by Authorized Agent, Title of Agent
                                     Street Address
                          City, State and Zip Code
                                Telephone Number
                                     Email Address
                                   Date Completed
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     VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF
                      CLASS [__] [CLASS DESCRIPTION]

1.      This Ballot is submitted to you to solicit your vote to accept or reject the Proposed Plan.
        PLEASE READ THE PROPOSED PLAN AND THE DISCLOSURE STATEMENT
        CAREFULLY BEFORE COMPLETING THIS BALLOT.

2.      The Proposed Plan will be accepted by a Class if it is accepted by the holders of two-thirds in
        amount and more than one-half in number of Claims in that Class voting on the Proposed Plan.
        In the event that Class rejects the Proposed Plan, the Bankruptcy Court may nevertheless confirm
        the Proposed Plan and thereby make it binding on you if the Bankruptcy Court finds that the
        Proposed Plan does not unfairly discriminate against, and accords fair and equitable treatment to,
        the holders of Claims in that Class and all other Classes of Claims rejecting the Proposed Plan,
        and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the
        Proposed Plan is confirmed by the Bankruptcy Court, all holders of Claims against and Equity
        Interests in the Debtors (including those holders who abstain from voting or reject the Proposed
        Plan, and those holders who are not entitled to vote on the Proposed Plan) will be bound by the
        confirmed Proposed Plan and the transactions contemplated thereby.

3.      In order for your vote to be counted, this Ballot must be properly completed, signed, and returned
        in the envelope provided. The deadline for the receipt by the Solicitation Agent of all Ballots
        is no later than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010 (the “Voting
        Deadline”), unless such time is extended in writing by the Debtors. The Solicitation Agent is
        Financial Balloting Group LLC, 757 Third Avenue, 3rd Floor, New York, New York 10017.

Ballots will not be accepted by telecopy, facsimile, or other electronic means of transmission.

4.      To properly complete this Ballot, you must follow the procedures described below:

        a.      make sure that the information contained in Item 1 is correct;

        b.      if you have a Claim in the Class referenced in the Ballot, cast one vote to accept or reject
                the Proposed Plan by checking the appropriate box in Item 2;

        c.      if you wish to elect to opt out of the releases set forth in Sections 10.8, 10.9, and 10.10 of
                the Plan, check the box in Item 3;

        d.      if you are completing this Ballot on behalf of another person or entity, indicate your
                relationship with such person or entity and the capacity in which you are signing and
                submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
                certified copy of board resolutions authorizing you to so act);

        e.      if you also hold other claims or interests that are entitled to vote, you should receive a
                different Ballot for each such claim or interest. Your vote will be counted in determining
                acceptance or rejection of the Proposed Plan by a particular class only if you complete,
                sign and return the Ballot labeled for that class in accordance with the instructions on that
                Ballot;

        f.      if you believe that you have received the wrong Ballot, please contact the Solicitation
                Agent immediately;


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     g.    provide your name and mailing address;

     h.    sign and date your Ballot; and

     i.    return your Ballot (containing an original signature) using the enclosed pre-addressed
           return envelope.

            IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID
NOT RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT RECEIVE A
COPY OF THE DISCLOSURE STATEMENT OR PROPOSED PLAN, OR IF YOU NEED
ADDITIONAL COPIES OF THE BENEFICIAL HOLDER BALLOT OR OTHER ENCLOSED
MATERIALS, PLEASE CONTACT THE DEBTORS’ SOLICITATION AGENT, FINANCIAL
BALLOTING GROUP LLC AT (646) 282-1800. PLEASE DO NOT DIRECT ANY INQUIRIES TO
THE BANKRUPTCY COURT.
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                                    Exhibit A-4A

                             Ballot for Holders of Class 9
                           Asbestos Personal Injury Claims
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                                BALLOT FOR HOLDERS OF CLASS 9
                               ASBESTOS PERSONAL INJURY CLAIMS

                 Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, each of which is identified below, are soliciting votes with respect to the Debtors’
Fourth Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified,
dated May 26, 2010 (as it may be further amended or modified, the “Proposed Plan”), from the holders
of certain impaired claims and interests against the Debtors. All capitalized terms used but not defined
herein or in the enclosed voting instructions have the meanings ascribed to such terms in the Proposed
Plan. If you have any questions on how to properly complete this Ballot, please call Financial Balloting
Group LLC (the “Solicitation Agent”) at (646) 282-1800.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Asbestos-Related Claim Against Lexington Precision. This Ballot is to be used by you as a
        holder of Asbestos-Related Claims (as defined under the Proposed Plan) against Lexington
        Precision to accept or reject the Proposed Plan. Each vote to either accept or reject the Proposed
        Plan will be ascribed a value of $1.00 strictly for voting purposes under the Proposed Plan.

Item 2. Vote. The undersigned holder of an Asbestos-Related Claims against Lexington
        Precision hereby votes to:

                                     Check One Box Only
                                      Accept the Proposed Plan

                                      Reject the Proposed Plan
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Item 3. OPTIONAL – Opt Out of Releases. Sections 10.8, 10.9, and 10.10 of the Plan provides that
        you shall release certain non-debtor parties of certain causes of action and claims unless you elect
        not to grant such releases. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan to
        understand the implications of such releases. If you do not wish to grant these releases, please
        check the box below. You may elect to opt out of the releases irrespective of whether you
        vote to accept or reject the Plan.

                                      Elect to Opt Out of Releases 

Item 4. Certification. By signing this Ballot, the undersigned acknowledges that the undersigned has
        been provided with a copy of the disclosure statement for the Proposed Plan, dated May 26, 2010
        (the “Disclosure Statement”), including all exhibits thereto. The undersigned certifies that (i) it
        is the holder of an Asbestos-Related Claims against Lexington Precision identified in Item 1
        above and (ii) it has full power and authority to vote to accept or reject the Proposed Plan. The
        undersigned further acknowledges that the Debtors’ solicitation of votes is subject to all terms
        and conditions set forth in the Disclosure Statement and the order of the Bankruptcy Court
        approving the Disclosure Statement and the procedures for the solicitation of votes to accept or
        reject the Proposed Plan contained therein.

                 Print or Type Name of Claimant
         Social Security No./Federal Tax I.D. No.
                                          Signature
  Name of Signatory (if different than claimant)
           If by Authorized Agent, Title of Agent
                                    Street Address
                          City, State and Zip Code
                               Telephone Number
                                    Email Address
                                   Date Completed
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                      VOTING INSTRUCTIONS FOR COMPLETING
                       THE BALLOT FOR HOLDERS OF CLASS 9
                        ASBESTOS PERSONAL INJURY CLAIMS

1.    This Ballot is submitted to you to solicit your vote to accept or reject the Proposed Plan.
      PLEASE READ THE PROPOSED PLAN AND THE DISCLOSURE STATEMENT
      CAREFULLY BEFORE COMPLETING THIS BALLOT.

2.    The Proposed Plan will be accepted by Class 9 if it is accepted by the holders of two-thirds in
      amount and more than one-half in number of claims in Class 9 voting on the Proposed Plan. In
      the event that Class 9 rejects the Proposed Plan, the Bankruptcy Court may nevertheless confirm
      the Proposed Plan and thereby make it binding on you if the Bankruptcy Court finds that the
      Proposed Plan does not unfairly discriminate against, and accords fair and equitable treatment to,
      the holders of claims in Class 9 and all other classes of claims or interests rejecting the Proposed
      Plan, and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the
      Proposed Plan is confirmed by the Bankruptcy Court, all holders of claims against and interests in
      the Debtors (including those holders who abstain from voting or reject the Proposed Plan, and
      those holders who are not entitled to vote on the Proposed Plan) will be bound by the confirmed
      Proposed Plan and the transactions contemplated thereby.

                            For Creditors Not Voting through Counsel

3a.   To have your vote counted, you must complete, sign, and return this Ballot to
      Financial Balloting Group (the “Solicitation Agent”) so that it is received by the
      Solicitation Agent by no later than 5:00 p.m. (Eastern Daylight Time) on Friday
      July 2, 2010 (the “Voting Deadline”), unless such time is extended in writing by the
      Debtors. Ballots must be delivered either by mail with the enclosed envelope or by hand
      delivery or overnight courier to the Solicitation Agent at the following address:

              FINANCIAL BALLOTING GROUP LLC
              ATTN: LEXINGTON PRECISION BALLOT TABULATION
              757 THIRD AVENUE, 3RD FLOOR
              NEW YORK, NEW YORK 10017
              (646) 282-1800

      Ballots will not be accepted by telecopy, facsimile, or other electronic means of
      transmission.

                             For Creditors Voting through by Counsel

3b.   In order for your vote to be counted, this Ballot must be properly completed, signed, and returned
      in the envelope provided. The deadline for the receipt by the Solicitation Agent of all Ballots
      (including this ballot as well as a master ballot cast on your behalf by your attorney) is no later
      than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010, (the “Voting Deadline”),
      unless such time is extended in writing by the Debtors.

      IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR ATTORNEY,
      PLEASE ALLOW SUFFICIENT TIME FOR YOUR ATTORNEY TO PROCESS YOUR
      VOTE ON A MASTER BALLOT AND RETURN THE MASTER BALLOT TO THE
      SOLICITATION AGENT BEFORE THE VOTING DEADLINE.
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      Ballots will not be accepted by telecopy, facsimile, or other electronic means of
      transmission.

4.    To properly complete the Ballot, you must follow the procedures described below:

      a.     make sure that the information contained in Item 1 is correct;

      b.     if you have a Claim in Class 9, cast one vote to accept or reject the Proposed Plan by
             checking the appropriate box in Item 2;

      c.     if you wish to elect to opt out of the releases set forth in Sections 10.8, 10.9, and 10.01 of
             the Plan, check the box in Item 3;

      d.     if you are completing this Ballot on behalf of another person or entity, indicate your
             relationship with such person or entity and the capacity in which you are signing and
             submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
             certified copy of board resolutions authorizing you to so act);

      e.     if you also hold other claims or interests in classes that are entitled to vote, you should
             receive a different Ballot for each such claim and interest. Your vote will be counted in
             determining acceptance or rejection of the Proposed Plan by a particular class only if you
             complete, sign, and return the Ballot labeled for that class in accordance with the
             instructions on that Ballot;

      f.     if you believe that you have received the wrong Ballot, please contact the Solicitation
             Agent immediately;

      g.     provide your name and mailing address;

      h.     sign and date your Ballot; and

      i.     return your Ballot (containing an original signature) using the enclosed pre-
             addressed return envelope.

               IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID
NOT RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT RECEIVE A
COPY OF THE DISCLOSURE STATEMENT OR PROPOSED PLAN, OR IF YOU NEED
ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE
CONTACT THE DEBTORS’ SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC AT
(646) 282-1800. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                                  Exhibit A-4B

                     Master Ballot for Counsel to Holders of
                     Class 9 Asbestos Personal Injury Claims
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP., et al.,                             :   Case No. 08-11153 (SCC)
                                                               :
                           Debtors.                            :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                        MASTER BALLOT FOR COUNSEL TO HOLDERS OF
                         CLASS 9 ASBESTOS PERSONAL INJURY CLAIMS

                 Lexington Precision Corporation (“Lexington Precision”) and Lexington Rubber Group,
Inc. (“Lexington Rubber Group” and together with Lexington Precision, the “Debtors”), as debtors and
debtors in possession, each of which is identified below, are soliciting votes with respect to the Debtors’
Fourth Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified,
dated May 26, 2010 (as it may be further amended or modified, the “Proposed Plan”), from the holders
of certain impaired claims against the Debtors. All capitalized terms used but not defined herein or in the
enclosed voting instructions have the meanings ascribed to such terms in the Proposed Plan. If you have
any questions on how to properly complete this Ballot, please call Financial Balloting Group LLC (the
“Solicitation Agent”) at (646) 282-1800.

                This Master Ballot is to be used by you as an authorized representative of the
holders of Asbestos-Related Claims (as defined under the Proposed Plan) against Lexington
Precision, to transmit to the Solicitation Agent the votes of such beneficial holders (the “Beneficial
Holders”) in respect of their Asbestos-Related Claims to accept or reject the Proposed Plan. Each
vote to either accept or reject the Proposed Plan will be ascribed a value of $1.00 strictly for voting
purposes under the Proposed Plan.

                  Tabulation of Votes with Respect to the Proposed Plan. Please note that each holder
of an Asbestos-Related Claim that votes must vote its entire claim to accept or reject the Proposed Plan
and may not split such vote. Accordingly, any holder of an Asbestos-Related Claim who attempts
partially to reject and partially to accept the Proposed Plan shall not be counted. If this Master Ballot is
signed and timely sent to the Solicitation Agent, but does not designate either acceptance or rejection of
the Proposed Plan for any particular claim, such claim shall not be counted as either an acceptance or
rejection of the Proposed Plan.

                 Sections 10.8, 10.9, and 10.10 of the Plan provides that each holder of an Asbestos-
Related Claim shall release certain non-debtor parties of certain causes of action and claims unless such
holder elects not to grant such release. Please carefully review Sections 10.8, 10.9, and 10.10 of the Plan
to understand the implications of such releases. If your client does not wish to grant these releases, please
check the appropriate box in Item 1 below. Your client may elect to opt out of the releases
irrespective of whether your client votes to accept or reject the Plan.
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 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Summary of Holders of Asbestos Personal Injury Claims Represented by Attorney. Please
         prepare a summary sheet, to be attached to this Master Ballot as an exhibit, listing each holder of
         an Asbestos Personal Injury Claim you represent in substantially the same form as the table
         below. If possible, please submit an electronic version of the chart below in excel format saved
         on a floppy disk, compact disk, or flash drive.

                                                                                       Accept or
                                                                                                     Opt Out of
                                                              Social Security           Reject
Name of Holder of an Asbestos Personal Injury Claim                                                     the
                                                                 Number              (complete if
                                                                                                      Releases
                                                                                      applicable)




 Item 2. Certifications. By signing this Master Ballot, the undersigned certifies, under penalty of perjury,
         pursuant to 28 U.S.C. § 1746, that the following is true and correct:

          •   I have been provided with a copy of the Disclosure Statement and the exhibits thereto.

          •   I have been authorized by each of the holders of Asbestos-Related Claims listed on the
              exhibit accompanying this Master Ballot to vote his or her claim to accept or reject the
              Proposed Plan as indicated on the exhibit.

 Item 3. Return of Exhibit. The entire exhibit accompanying this Master Ballot must be prepared and
         returned with this completed Master Ballot to the Solicitation Agent.

         Print or Type Name of Attorney:                       _______________________________

         Name of Law Firm:                                     _______________________________

         Signature:                                            _______________________________

         Street Address:                                       _______________________________

         City, State, and Zip Code:                            _______________________________

         Telephone Number:                                     _______________________________

         Email Address:                                        _______________________________

         Date Completed:                                       _______________________________
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                     INSTRUCTIONS FOR COMPLETING THE
                 MASTER BALLOT FOR COUNSEL TO HOLDERS OF
                  CLASS 9 ASBESTOS PERSONAL INJURY CLAIMS

1.    This Master Ballot is submitted to you in connection with the solicitation of votes of individual
      holders of Asbestos-Related Claims to accept or reject the Debtors’ Fourth Amended Joint Plan
      of Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010
      (as it may be further amended or modified, the “Proposed Plan”). The terms of the Proposed
      Plan are described in the disclosure statement therefor, dated May 26, 2010 (the “Disclosure
      Statement”). All capitalized terms used but not defined herein have the meanings ascribed to
      such terms in the Proposed Plan. PLEASE READ THE PROPOSED PLAN, THE
      DISCLOSURE STATEMENT, AND THE PROCEDURES FOR SOLICITATION AND
      TABULATION OF VOTES TO ACCEPT OR REJECT THE PROPOSED PLAN
      APPROVED BY THE BANKRUPTCY COURT ON MAY 26, 2010 (THE “VOTING
      PROCEDURES”) CAREFULLY BEFORE COMPLETING THIS MASTER BALLOT.

2.    This Master Ballot is to be used by counsel to holders of Asbestos-Related Claims who are
      authorized to vote on behalf of those clients to accept or reject the Proposed Plan.

3.    The Proposed Plan will be accepted by Class 9 if it is accepted by the holders of two-thirds in
      amount and more than one-half in number of Claims in Class 9 voting on the Proposed Plan. If
      the Proposed Plan is confirmed by the Bankruptcy Court, all holders of claims against and
      interests in the Debtors (including those holders who abstain from voting on or reject the
      Proposed Plan, and those holders who are not entitled to vote on the Proposed Plan) will be bound
      by the confirmed Proposed Plan and the transactions contemplated thereby.

4.    To have the votes reflected on this Master Ballot counted, this Master Ballot must be
      completed, signed, and returned so that it is received by the Solicitation Agent (set forth
      below) not later than 5:00 p.m. (Eastern Daylight Time) on Friday July 2, 2010, unless such
      time is extended in writing by the Debtors. Master Ballots may be delivered by mail to the
      Solicitation Agent at the following address:

              FINANCIAL BALLOTING GROUP LLC
              ATTN: LEXINGTON PRECISION BALLOT TABULATION
              757 THIRD AVENUE, 3RD FLOOR
              NEW YORK, NEW YORK 10017
              (646) 282-1800

      The Master Ballot will not be accepted by telecopy, facsimile, or other electronic means
      of transmission.

5.    This Master Ballot may not be used for any purpose other than to transmit the votes to accept or
      reject the Proposed Plan.

6.    You may be required to provide evidence of authorization of the undersigned by holders of
      Asbestos-Related Claims to vote to accept or reject the Proposed Plan.

7.    Multiple Master Ballots may be completed and delivered to the Solicitation Agent. Votes
      reflected by multiple Master Ballots will be counted except to the extent that they are duplicative
      of other Master Ballots. If two or more Master Ballots are inconsistent, the last Master Ballot
      received prior to the Voting Deadline will, to the extent of such inconsistency, govern unless
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      otherwise ordered by the Bankruptcy Court. If more than one Master Ballot is submitted and the
      last Master Ballot(s) supplement(s) rather than duplicate(s) earlier Master Ballot(s), please
      designate the subsequent Master Ballot(s) as “Supplement” and clearly mark which of those votes
      reflected thereon are additional votes.

8.    Please note that Item 1 of the Master Ballot requires that you prepare a summary sheet, listing
      each holder of an Asbestos-Related Claim you represent, which shall become an exhibit to the
      Master Ballot. The exhibit must list all holders of Asbestos-Related Claims on whose behalf you
      are voting by name and social security number, with a separate box next to each entry to note, if
      necessary, whether such individual holder of an Asbestos-Related Claim accepts or rejects the
      Proposed Plan. Please also indicate whether your client elects to opt out of the release provisions
      in the Plan.

9.    Each holder of an Asbestos-Related Claim that votes must vote his or her entire claim to accept or
      reject the Proposed Plan and may not split such vote. Accordingly, any holder of an Asbestos-
      Related Claim who attempts partially to reject and partially to accept the Proposed Plan shall not
      be counted. If this Master Ballot is signed and timely sent to the Solicitation Agent, but does not
      designate either acceptance or rejection of the Proposed Plan for any particular claim, such claim
      shall not be counted as either an acceptance or rejection of the Proposed Plan.

10.   To properly complete the Ballot, you must follow the procedures described below:

      a.      Item 1 of the Master Ballot requires that you prepare a summary sheet, listing each holder
              of an Asbestos-Related Claim you represent, that shall become an exhibit to the Master
              Ballot. The exhibit must list all holders of Asbestos-Related Claims on whose behalf you
              are voting by name and social security number with a separate box next to each entry to
              note whether such individual holder of an Asbestos-Related Claim accepts or rejects the
              Proposed Plan. Please also indicate whether such holder of an Asbestos-Related Claim
              elects to opt out of the releases set forth in Sections 10.8, 10.9, and 10.10 of the Plan;

      b.      Item 2 contains certifications, under penalty of perjury pursuant to 28 U.S.C. § 1746,
              which are required for you to submit a vote on behalf of one or more holders of Asbestos-
              Related Claims. Please ensure that you have read and understood the certifications prior
              to signing the Master Ballot. If you are unable to make the certification as to the
              authority to vote on behalf of any holder of an Asbestos-Related Claim, you must
              either (i) within ten (10) business days after the mailing of the Solicitation Package,
              furnish the Solicitation Agent with the names and addresses of any such holder(s),
              to whom the Solicitation Agent will send copies of the Solicitation Package,
              including Ballots, or (ii) transmit such Solicitation Package to any such clients
              directly.

      c.    sign and date your Master Ballot;

      d.    provide your name and mailing address;

      e.    contact the Solicitation Agent if you need any additional information; and

      f.    return the completed, executed Master Ballot (with an original signature) so as to be
            received by the Solicitation Agent before the Voting Deadline (Friday July 2, 2010 at
            5:00 p.m. (Eastern Daylight Time)).
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PLEASE NOTE:

                  The Master Ballot is not a letter of transmittal and may not be used for any purpose
other than to cast votes to accept or reject the Proposed Plan. Holders should not surrender, at this
time, certificates representing their securities. Neither the Debtors nor the Solicitation Agent will accept
delivery of any such certificates surrendered together with the Master Ballot.

               No fees, commissions, or other remuneration will be payable to you for soliciting votes
on the Proposed Plan.

           NOTHING CONTAINED HEREIN OR IN THE ENCLOSED DOCUMENTS
SHALL RENDER YOU OR ANY OTHER PERSON THE AGENT OF THE DEBTORS OR THE
SOLICITATION AGENT, OR AUTHORIZE YOU OR ANY OTHER PERSON TO USE ANY
DOCUMENT OR MAKE ANY STATEMENTS ON BEHALF OF ANY OF THEM WITH
RESPECT TO THE PROPOSED PLAN, EXCEPT FOR THE STATEMENTS CONTAINED IN
THE ENCLOSED DOCUMENTS.

IF YOU HAVE ANY QUESTIONS REGARDING THE MASTER BALLOT, OR IF YOU DID NOT
RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PROPOSED PLAN, OR IF YOU
NEED ADDITIONAL COPIES OF THE MASTER BALLOT, BENEFICIAL OWNER BALLOTS OR
OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTORS’ SOLICITATION AGENT,
FINANCIAL BALLOTING GROUP LLC, AT (646) 282-1800. PLEASE DO NOT DIRECT ANY
INQUIRIES TO THE BANKRUPTCY COURT.
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                                       Exhibit B

                               Notice of Non-Voting Status




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
                                                                        :
In re:                                                                  :     Chapter 11
                                                                        :
LEXINGTON PRECISION CORP., et al.,                                      :     Case No. 08-11153 (SCC)
                                                                        :
                           Debtor.                                      :     (Jointly Administered)
                                                                        :
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                NOTICE OF NON-VOTING STATUS TO UNIMPAIRED CLASSES1

                PLEASE TAKE NOTICE THAT on the United States Bankruptcy Court for the Southern
District of New York (the “Court”) entered an order, dated May 26, 2010 (the “Disclosure Statement
Order”), approving the Disclosure Statement for the Debtors’ Fourth Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code, as Modified, dated May 26, 2010 (the
“Disclosure Statement”) filed by Lexington Precision Corporation (“LPC”) and Lexington Rubber
Group, Inc. (“LRGI” and together with LPC, the “Debtors”) in the above-referenced chapter 11 cases, as
debtors and debtors in possession.

                The Disclosure Statement Order authorizes the Debtors to solicit votes to accept or reject
the Debtors’ Fourth Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code,
as Modified, dated May 26, 2010 (as it may be further modified or amended, the “Proposed Plan”), a
copy of which is annexed as Exhibit A to the Disclosure Statement.

             UNDER THE TERMS OF THE PROPOSED PLAN, YOUR CLAIM(S) AGAINST
OR INTEREST(S) IN THE DEBTORS IS/ARE NOT IMPAIRED OR WILL NOT RECEIVE OR
RETAIN ANY DISTRIBUTION OR PROPERTY UNDER THE PLAN, AND THEREFORE,
PURSUANT TO SECTION 1126(f) AND (g) OF TITLE 11 OF THE UNITED STATES CODE,
YOU ARE (i) DEEMED TO HAVE (a) ACCEPTED THE PROPOSED PLAN IN THE CASE OF
CLAIMS AGAINST A DEBTOR, OR (b) REJECTED THE PROPOSED PLAN, IN THE CASE
OF INTERESTS IN LEXINGTON PRECISION, AND (ii) NOT ENTITLED TO VOTE ON THE
PROPOSED PLAN. IF YOU HAVE ANY QUESTIONS ABOUT THE STATUS OF YOUR
CLAIM(S) OR INTEREST(S), OR YOU WANT TO REQUEST A COPY OF THE PROPOSED
PLAN AND DISCLOSURE STATEMENT, YOU SHOULD CONTACT THE DEBTORS’
VOTING SOLICITATION AGENT, FINANCIAL BALLOTING GROUP LLC,




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  Unimpaired Classes include the following: Class 1 (Other Priority Claims against LPC), Class 3 (Secured Tax
Claims against LPC), Class 4 (Secured Tax Claims against LPC), Class 8 (Convenience Claims against LPC),
Class 12 (Other Priority Claims against LRGI), Class 13 (Other Priority Claims against LRGI), Class 15 (Secured
Tax Claims against LRGI), Class 18 (Convenience Claims against LRGI), and Class 19 (Interests in LRGI) under
the Proposed Plan.
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ATTN: LEXINGTON PRECISION BALLOT TABULATION, 757 THIRD AVENUE, 3RD
FLOOR, NEW YORK, NEW YORK 10017, OR BY TELEPHONE AT (646) 282-1800.

Dated: May 26, 2010
       New York, New York

                                     WEIL, GOTSHAL & MANGES LLP
                                     767 Fifth Avenue
                                     New York, NY 10153-0119
                                     Telephone: (212) 310-8000
                                     Facsimile: (212) 310-8007
                                     Richard P. Krasnow
                                     Adam P. Strochak

                                     Attorneys for Debtors and
                                     Debtors in Possession
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                                   Exhibit C

                      Form of Confirmation Hearing Notice
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
                                                                        :
In re:                                                                  :   Chapter 11
                                                                        :
LEXINGTON PRECISION CORP., et al.,                                      :   Case No. 08-11153 (SCC)
                                                                        :
                           Debtors.                                     :   (Jointly Administered)
                                                                        :
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         NOTICE OF (A) APPROVAL OF THE DEBTORS’ DISCLOSURE
       STATEMENT FOR THE DEBTORS’ PROPOSED PLAN; (B) VOTING
       PROCEDURES FOR THE PROPOSED PLAN; (C) SCHEDULING OF
     THE CONFIRMATION HEARING; AND (D) PROCEDURES FOR FILING
  OBJECTIONS AND RESPONSES TO CONFIRMATION OF THE PROPOSED PLAN

TO ALL PARTIES IN INTEREST IN LEXINGTON PRECISION CORPORATION. (“LPC”) AND LEXINGTON
RUBBER GROUP, INC. (“LRGI” TOGETHER WITH LPC, THE “DEBTORS”), PLEASE TAKE NOTICE
THAT:

                  Approval of Disclosure Statement. By order, dated May 26, 2010 (the “Disclosure
Statement Order”), the United States Bankruptcy Court for the Southern District of New York (the
“Court”) approved the Debtors’ proposed disclosure statement (the “Disclosure Statement”) for the
Debtors’ Fourth Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, as
Modified, date May 26, 2010 (as it may be amended or modified, the “Proposed Plan”) pursuant to
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Disclosure Statement
Order authorizes the Debtors to solicit votes to accept the Debtors’ Proposed Plan.

                 Confirmation Hearing. The Court shall hold a hearing (the “Confirmation Hearing”)
to consider the confirmation of the Proposed Plan on Wednesday July 14, 2010 at 10:00 a.m. (Eastern
Daylight Time), before the Honorable Shelley C. Chapman, United States Bankruptcy Judge, in Room
610 of the United States Bankruptcy Court for the Southern District of New York, One Bowling Green,
New York, New York 10004. The Confirmation Hearing may be continued from time to time without
further notice other than the announcement by the Debtors in open court of the adjourned date(s) at the
Confirmation Hearing or any continued hearing. The Debtors may modify the Proposed Plan, if
necessary, prior to, during, or as a result of the Confirmation Hearing in accordance with the terms of the
Proposed Plan without further notice.

                  Voting Procedures. Holders of impaired claims against or interests in the Debtors’
estates as of Wednesday May 26, 2010 (the “Record Date”) are entitled to vote. If you hold such a
claim or interest, you will receive a solicitation package which shall include a copy of (i) the Disclosure
Statement Order, (ii) this Notice, (iii) the Disclosure Statement, attached to which is the Proposed Plan,
and (iv) a ballot. Please review the ballot of specific instructions as to how to vote. Failure to follow the
voting instructions may disqualify your vote. If you a holder of an Asbestos Personal Injury Claim (as
defined in the Plan, please consult with your counsel about your voting rights.

               Voting Deadline. The deadline to vote on the Proposed Plan is Friday July 2, 2010 at
5:00 p.m. (Eastern Daylight Time) (the “Voting Deadline”). The Debtors’ solicitation agent, Financial


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Balloting Group LLC, must receive your ballot by the Voting Deadline, otherwise your vote will not be
counted.

                  Parties in Interest Not Entitled to Vote. Holders of unimpaired claims against or
interests in the Debtors’ estates are not entitled to vote. If you hold such a claim or interest, you will
receive a notice of your non-voting status.

                 Objections to Confirmation. Objections or responses to confirmation of the Proposed
Plan, if any, must (i) be in writing; (ii) conform to the Bankruptcy Rules and the Local Rules for the
United States Bankruptcy Court for the Southern District of New York; and (iii) set forth the name of the
objecting party, the basis for the objection, and the specific grounds therefor.

                 All objections and responses to the confirmation of the Proposed Plan must be filed with
the Court no later than Friday July 2, 2010 at 5:00 p.m. (Eastern Daylight Time). In accordance with
General Order M-242, registered users of the Court’s case filing system must electronically file their
objections and responses. All other parties in interest must file their objections and responses on a 3.5
inch floppy disk (preferably in Portable Disk Format (PDF), WordPerfect, or any other Windows-based
word processing format) and deliver a hard copy to the chambers of Judge Shelley C. Chapman.

                All objections and responses must be served, so as to be received no later than Friday
July 2, 2010 at 5:00 p.m. (Eastern Daylight Time), upon:

The Debtors                                              The Attorneys for the Debtors

     Lexington Precision Corporation                        Weil, Gotshal & Manges LLP
     800 Third Ave. 15th Floor                              767 Fifth Avenue,
     New York, New York 10023                               New York, New York 10153
     Attn: Michael A. Lubin                                 Attn: Richard P. Krasnow and Victoria Vron

The Office of the United States Trustee for the          The Attorneys for the Secured Lenders
Southern District of New York
                                                            Waller, Landsden, Dortch & Davis LLP
     33 Whitehall Street, 21st Floor,                       511 Union Street, Suite 2700
     New York, New York 10004                               Nashville, Tennessee, 37219
     Attn: Paul K. Schwartzberg                             Attn: John C. Tishler

The Attorneys for the Committee                          The Attorneys for the Debtors’ Postpetition Lenders

     Andrews Kurth LLP,                                     O’Melveny & Meyers, LLP
     450 Lexington Avenue,                                  Times Square Tower, 7 Times Square
     New York, New York 10017                               New York, New York 10036
     Attn: Paul Silverstein and Jonathan I. Levine          Attn: Gerald Bender

The Attorneys for the Plan Investor

     Jones Day
     222 East 41st Street
     New York, New York 10017
     Attn: Lisa Laukitis


                Additional Information. For more information about the solicitation procedures, please
contact Financial Balloting Group LLC, the Debtors’ solicitation agent, at (646) 282-1800. To obtain a



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copy of the Disclosure Statement Order, the Disclosure Statement, the Proposed Plan, or any related
documents, please contact Financial Balloting Group LLC or visit the Debtors’ website at
http://chapter11.epiqsystems.com/Lexington or the Court’s website at http://www.nysb.uscourts.gov.
To access documents on the Court’s website, you will need a PACER password and login, which you can
be obtained at http://www.pacer.psc.uscourts.gov.

                The Proposed Plan contains an injunction which prevents, among other things, any
holder of any claim or interest or any other party in interest in the Debtors’ chapter 11 cases from
directly or indirectly commencing or continuing, in any manner, any action or other proceeding of
any kind against the Debtors, or the reorganized Debtors, enforcing judgments related to such
claims or interests, asserting rights of setoff, recoupment or subrogation, or interfering in any way
with the Proposed Plan or any schemes of arrangement thereunder. In addition, except as provided
in the Proposed Plan, the Debtors and the reorganized Debtors will not have any liability for any
claim or equity interest in the Debtors that are cancelled or terminated under the Proposed Plan or
which arose prior to the effective date of the Proposed Plan.

Dated: May 26, 2010
       New York, New York

                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
                                               New York, NY 10153-0119
                                               Telephone: (212) 310-8000
                                               Facsimile: (212) 310-8007
                                               Richard P. Krasnow
                                               Adam P. Strochak

                                               Attorneys for Debtors and
                                               Debtors in Possession




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